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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


 UNITED STATES OF AMERICA,
                                                          Case No. 12-20030
          Plaintiff,
                                                          Honorable Nancy G. Edmunds
 v.

 JEFFREY BEASLEY, ET AL.,

          Defendants.
                                            /


    OPINION AND ORDER REGARDING POTENTIAL CONFLICTS OF INTEREST
  ARISING OUT OF ATTORNEY ELLIOTT HALL’S CONTINUED REPRESENTATION
                       OF DEFENDANT STEWART


      At evidentiary hearings held on September 23, 2014 and September 26, 2014, this

 Court considered two potential conflicts of interest arising out of Attorney Elliott Hall’s

 continued representation of Defendant Stewart, both concerning Attorney Hall’s ability to

 cross-examine government witnesses. On September 22, 2014, the government submitted

 a letter to the Court alerting it to these potential conflicts of interest. Based on testimony

 from Robert Shumake, his current counsel Robert Morgan, Defendant Stewart and Attorney

 Hall, this Court concludes that (1) Robert Shumake’s written and oral waiver of his

 attorney/client privilege is knowing, intelligent, and voluntary, (2) Defendant Stewart’s

 written and oral waiver of his right to conflict-free representation is knowing, intelligent, and

 voluntary, and (3) the potential conflicts of interest arising out of Attorney Hall’s continued

 representation of Defendant Stewart that were addressed at the September 23, 2014 and

 September 26, 2014 hearings are of a type that can be waived. Balancing Defendant
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 Stewart’s right to counsel of his choice with the Court’s interest in the integrity of the Court’s

 proceedings, this Court concludes that Attorney Hall may proceed as Defendant Stewart’s

 counsel in this criminal matter.

 I.   Background

      In the government’s September 22, 2014 letter, two potential conflicts of interest were

 identified. Both concern Elliott Hall, Defendant Stewart’s counsel. The first involves

 Attorney Hall’s prior representation of government witness Robert Shumake. The second

 involves Attorney Hall’s financial interest in a company, Detroit Gateway Park Outlet Mall,

 LLC, that received a loan from the City of Detroit General Retirement System (“GRS”). As

 described below, both potential conflicts of interest raise concerns about Attorney Hall’s

 ability to cross-examine government witnesses.

      A. First Conflict of Interest - Prior Representation of Shumake

      As to the first potential conflict of interest, the government informed the Court that

 Robert Shumake is expected to testify at Defendant Stewart’s upcoming criminal trial. He

 will testify that he gave Stewart items of value in the hope of influencing Stewart in his role

 as a trustee of the City of Detroit Police and Fire Retirement System (“PFRS”). The

 government further advised the Court that Attorney Hall had previously represented

 Shumake and Shumake’s company in a civil lawsuit brought against them by the PFRS that

 raised some of the same matters about which Shumake will testify in this criminal trial. See

 Police & Fire Retirement System, et al. v. Shumake, ICG Real Estate, et al., No. 10-

 010491-CK (Wayne County Circuit Court). Attorney Hall will have to cross-examine Mr.

 Shumake, and that cross-examination is likely to deal with issues that were part of that civil

 case. The concern here is that Mr. Hall’s prior representation of Shumake may create a
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 disincentive for him to pursue certain lines of cross-examination that would be helpful to his

 current client Defendant Stewart.

      B. Second Conflict of Interest - Attorney Hall’s Financial Interests

      As to the second potential conflict of interest, the government informed the Court that

 Attorney Hall has a financial interest in Detroit Gateway Park Outlet Mall, LLC, which

 obtained a loan from the GRS for a commercial development near Eight Mile Road and

 Woodward Avenue in Detroit (the “Gateway Project”). The government intends to call

 current and former trustees of both Retirement Systems, as well as staff for both

 Retirement Systems, and legal counsel for the PFRS as witnesses at trial. The government

 also intends to call Louis Vogt, who has an ongoing relationship with the Retirement

 Systems and who plays a significant role in the GRS’s Gateway Project investment.

 Among other things, the government will question Vogt at trial about items of value he

 allegedly provided Stewart in an attempt to influence Stewart as trustee of the PFRS.

      Louis Vogt is the owner of Banyan Realty Advisors, which is located in Florida and

 serves as one of the real estate investment advisors and investment mangers for the GRS

 and PFRS. Among other things, he performs due diligence investigations for prospective

 investments and manages investments. He also brings alternative investments to the

 Retirement Systems for their consideration. The trustees have discretion whether to invest

 in these proposals. They also have the discretion to decide whether Vogt will be chosen

 to perform due diligence on a proposed investment or will be chosen as the investment

 manager for a particular investment.

      Vogt performed the due diligence investigation for the ICG Leaseback deal, which will

 be a subject in Defendant Stewart’s upcoming trial. Both Retirement Systems invested in
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 the ICG Leaseback deal, which was brought to them by Robert Shumake. In addition, Vogt

 was involved in GRS’s investment in Gateway Project, which is not a subject of the current

 criminal trial. That investment was brought to the GRS by Detroit Park Outlet Mall, LLC as

 early as August 11, 2004. Minutes from an August 14, 2004 GRS meeting provide that:

            RE: Detroit Gateway Park Outlet Mall, LLC - Investment Proposal
            Representatives Marvin Beatty, Elliott Hall, Bernard Shrock and Richardo
            Solomon of the aforementioned company entered the meeting to discuss
            potential investment in the Detroit Gateway Park Lifestyle Mall.1

 (8/14/04 GRS meeting minutes) (Emphasis added). Other than that one appearance on

 August 14, 2004, the government informs the Court that it does not appear that Elliott Hall

 made any further appearances before the GRS on this investment.

      On September 21, 2014, Attorney Hall informed the government that he has a 9%

 interest in the Gateway Project. The government informs the Court that the GRS’s minutes

 regarding the Gateway Project are extensive and show that Vogt’s active participation in

 this investment has spanned several years. As pointed out by the government in its brief,

 the potential exists that Vogt’s involvement in the Gateway Project and the GRS’s reliance

 on his recommendations regarding that investment may create a disincentive for Attorney

 Hall to pursue certain lines of cross-examination out of a concern that Vogt may not be

 helpful on the Gateway Project in the future. There is also a concern that Attorney Hall’s

 financial interest in the Gateway Project may create a disincentive for Attorney Hall to fully

 cross-examine GRS staff or trustees called as government witnesses who may have been

 involved in the Gateway Project.



        1
         The government informs the Court that this project was subsequently referred to
 as “Shops at Gateway Park,” “The Shops at Detroit’s Gateway Park Convertible
 Mortgage Loan and Retail Project,” and “Gateway Park Outlet Mall.” Hereinafter it will
 be referred to as “the Gateway Project.”
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      C. September 23 and 26, 2014 Evidentiary Hearings

      On September 23, 2014, in response to the government’s letter, the Court held a

 hearing on the potential conflict issues identified in the government’s letter. Counsel for all

 parties were present as well as Defendant Stewart, Mr. Shumake, and Mr. Shumake’s

 counsel Robert Morgan.

      Mr. Hall asked the Court to allow Defendant Stewart until September 26, 2014 to

 carefully weigh whether he wanted to waive his right to conflict-free counsel and proceed

 with Mr. Hall’s representation in this criminal matter. The Court agreed to continue the

 hearing on Mr. Hall’s conflicts over to September 26th and asked both Mr. Hall and the

 government to file briefs fully addressing (1) the conflicts raised in the government’s letter

 and at the September 23rd hearing, and (2) whether those conflicts could be waived if

 Defendant Stewart did, indeed, decide to voluntarily and knowingly waive his right to

 conflict-free counsel.

      The requested briefs were filed and considered by the Court. An evidentiary hearing

 was held on September 26, 2014. Counsel for all parties were present as well as Defendant

 Stewart. At that hearing, Defendant Stewart informed the Court, both in writing [ECF No.

 321] and orally, that he will waive his right to conflict-free representation and wants Attorney

 Hall to represent him in the upcoming trial.        In their briefs and at the hearing, the

 government and Attorney Hall both argued that the Court, after an adequate inquiry and

 determination that Stewart had made a knowing, intelligent, and voluntary waiver of his

 right to conflict free counsel, should allow Attorney Hall to continue his representation of

 Defendant Stewart in this criminal matter. The Court then thoroughly examined Attorney

 Hall and Stewart about the potential conflicts of interest arising out of Attorney Hall’s
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 continued representation.

 II.   Analysis

       This Court is called upon to determine whether (1) Robert Shumake’s written and oral

 waiver of his attorney/client privilege is knowing, intelligent, and voluntary, (2) Defendant

 Stewart’s written and oral waiver of his right to conflict-free representation is knowing,

 intelligent, and voluntary, and (3) the potential conflicts of interest arising out of Attorney

 Hall’s continued representation of Defendant Stewart that were addressed at the

 September 23, 2014 and September 26, 2014 hearings are of a type that can be waived.

 Before considering Defendant Stewart’s waiver of the right to conflict-free representation,

 the Court first addresses whether witness Shumake’s waiver of his attorney/client privilege

 is knowing, intelligent, and voluntary.

       A. Shumake’s Waiver is Knowing, Intelligent and Voluntary

       At the September 23, 2014 hearing, the Court questioned Attorney Hall about his prior

 representation of Mr. Shumake. It then heard from Mr. Shumake’s current counsel, Robert

 Morgan, about Hall’s representation and was informed that Mr. Shumake had executed a

 written waiver [ECF No. 311] of his attorney/client privilege. After reviewing his written

 waiver, the Court thoroughly examined Mr. Shumake under oath about the extent of Mr.

 Hall’s prior representation so as to determine whether his waiver was knowing, intelligent,

 and voluntary. The Court learned that Attorney Hall’s representation of Mr. Shumake was

 brief and limited and that he has been and is being represented by several other attorneys

 in that civil case. Based on testimony at the September 23rd hearing and Mr. Shumake’s

 written waiver, this Court concludes that Mr. Shumake’s waiver of his attorney/client

 privilege is knowing, intelligent, and voluntary.
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      The Court now considers whether Defendant Stewart’s written and oral waiver of his

 right to conflict-free representation was knowing, intelligent, and voluntary and whether the

 potential conflicts of interest created by Attorney Hall’s continued representation are of a

 type that can be waived.

      B. Stewart’s Waiver of His Right to Conflict-Free Counsel is Knowing,
         Intelligent and Voluntary and The Potential Conflicts at Issue Here Are of a
         Type that Can Be Waived

      1. Standard of Review

      The Court’s decision whether to disqualify Stewart’s counsel of choice will be given

 “wide latitude,” will be reviewed on appeal “generous[ly],” and “will be upheld unless

 arbitrary or without adequate reasons.” United States v. Swafford, 512 F.3d 833, 839 (6th

 Cir. 2008) (internal quotation marks and citations omitted).

      2. Court’s Task

      In a very recent decision, the Sixth Circuit clarified the Court’s task:

         In general, in deciding whether to accept a defendant’s waiver of conflict-free
      counsel, a district court must determine (i) whether the defendant’s waiver is
      sufficient and (ii) whether the conflict is of a type that can be waived. The first
      inquiry focuses on the specific defendant before the district court. The second
      inquiry focuses on the integrity of the judicial system generally.

 United States v. Cardin, ___ F. App’x ___, 2014 WL 4160052, at *5 (6th Cir. Aug. 22, 2014)

 (internal citations omitted).

      3. Stewart’s Waiver Is Sufficient

      Based on his testimony at the September 26, 2014 hearing and his written waiver, this

 Court concludes that Stewart’s waiver of his right to conflict-free representation is knowing,

 intelligent, and voluntary. The Court first notes that Defendant Stewart was provided with

 additional time to contemplate the potential risks of Attorney Hall’s continued representation
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 and was advised that he had the right to discuss his decision whether to waive with an

 attorney other than Mr. Hall. The Court also advised Defendant Stewart about the potential

 conflicts of interest arising from Attorney Hall’s continued representation.

      As to the potential conflicts arising out of Attorney Hall’s prior representation of

 government witness Robert Shumake, Defendant Stewart acknowledged that he

 understood that Shumake would offer testimony that directly incriminates him. He also

 understood that Mr. Hall, along with other attorneys, had previously represented Mr.

 Shumake and his company in a lawsuit that was brought against them by the PFRS. He

 understood that this civil lawsuit dealt with the same subject matter about which Shumake

 would testify to at Defendant Stewart’s upcoming criminal trial.         Defendant Stewart

 acknowledged that he understood that his interests in this criminal matter could be

 adversely affected by Mr. Hall’s prior representation of Mr. Shumake in several ways,

 including Mr. Hall’s access, directly and indirectly, to privileged information because of the

 attorney/client relationship; that this information could have come from Mr. Shumake

 himself or from one of his business colleagues or from one of his other attorneys; and that,

 because of attorney/client privilege, Mr. Hall’s ability to cross-examine Mr. Shumake could

 be impaired. Defendant Stewart also acknowledged that, during the trial, the jury may

 become aware of Mr. Hall’s prior representation of Mr. Shumake in that civil suit. Both in

 his written waiver and in testimony under oath at the September 26, 2014 hearing,

 Defendant Stewart acknowledged that he had thoroughly discussed this potential conflict

 of interest with Mr. Hall, understood that he had the right to speak confidentially with

 another attorney about whether he should waive his right to conflict-free representation,

 and informed the Court unequivocally that he wanted to waive his right to conflict-free
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 representation.

      As to the potential conflicts arising out of Attorney Hall’s financial interest in the

 Gateway Project, in which the GRS has an investment, Defendant Stewart acknowledged

 that he understood that Mr. Hall had a financial interest in the Gateway Project; that the

 government’s witnesses will include Mr. Vogt as well as GRS staff and trustees who have

 been involved in the Gateway Project; and that the potential existed that Mr. Hall’s financial

 interest in the Gateway Project may affect his ability to fully cross-examine these witnesses

 out of concern that doing so will alienate them. Both in his written waiver and in testimony

 under oath at the September 26, 2014 hearing, Defendant Stewart acknowledged that he

 understood that he is entitled to conflict-free counsel and is aware of the potential conflicts

 of interest arising out of Mr. Hall’s financial interest in the Gateway Project.         After

 confirming his understanding of these facts and the potential conflict of interest arising out

 of Mr. Hall’s financial interest in the Gateway Project, Defendant Stewart unambiguously

 stated his intent to waive his right to conflict-free counsel.

      During the Court’s questioning of Defendant Stewart, a former trustee of the PFRS

 and 25-year veteran of the Detroit Police Department, it appeared that he fully appreciated

 the risks involved with Attorney Hall’s continued representation and made a properly

 informed choice to waive his right to conflict-free counsel. This Court thus concludes that

 Defendant Stewart’s waiver of the right to conflict-free representation was knowing,

 intelligent, and voluntary. See United States v. Davis, 490 F.3d 541, 548 (6th Cir. 2007)

 (rejecting the defendant’s argument on appeal that his waiver was not knowing and

 voluntary where the district court devoted considerable time to conflict issues, advised the

 defendants of the potential hazards of joint representation, and questioned each defendant
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  individually before accepting the defendant’s waiver of his right to conflict-free

  representation). See also United States v. Iorizzo, 786 F.2d 52, 59 (2d Cir. 1986)

  (observing that “[t]o secure a valid waiver, the court must: (1) advise the defendant about

  potential conflicts; (2) determine whether the defendant understands the risks of those

  conflicts; and (3) give the defendant time to digest and contemplate the risks, with the aid

  of independent counsel if desired.”).

       4. The Potential Conflicts Are of a Type That Can Be Waived

       As the Sixth Circuit observed in Swafford, “[t]he Sixth Amendment guarantees counsel

  for all defendants in criminal prosecutions and recognizes a qualified right to choose that

  counsel.” 512 F.3d at 839 (citing Wheat v. United States, 486 U.S. 153, 158-59 (1988)).

  Although a “defendant enjoys a presumption in favor of counsel of choice,” that

  “presumption may be overcome because a choice must be balanced with the court’s

  interest in the integrity of the proceedings and the public’s interest in the proper

  administration of justice.” Id. (internal quotation marks and citations omitted).

       “In situations where a potential conflict of interest may arise, the court’s interest in the

  integrity of the proceedings may trump the defendant’s choice. Whether the client waives

  his right to conflict-free representation is not dispositive, as district courts have the ability

  to prevent a conflict ‘not only in those rare cases where an actual conflict may be

  demonstrated before trial, but in the more common cases where a potential conflict exists

  which may or may not burgeon into an actual conflict as the trial progresses.’” Id. (quoting

  Wheat, 486 U.S. at 163). The Court has an “obligation to balance the defendant’s right to

  counsel of choice with the court’s independent obligation to serve justice.’” Id. at 840.

       In Swafford, the Sixth Circuit found the following language from Wheat to be
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  instructive:

       “Unfortunately for all concerned, a district court must pass on the issue whether
       or not to allow a waiver of a conflict of interest by a criminal defendant not with
       the wisdom of hindsight after the trial has taken place, but in the murkier pretrial
       context when relationships between parties are seen through a glass, darkly.
       The likelihood and dimensions of nascent conflicts of interest are notoriously
       hard to predict, even for those thoroughly familiar with criminal trials. It is a rare
       attorney who will be fortunate enough to learn the entire truth from his own client,
       much less be fully apprised before trial of what each of the Government’s
       witnesses will say on the stand. A few bits of unforeseen testimony or a single
       previously unknown or unnoticed document may significantly shift the
       relationship between multiple defendants. These imponderables are difficult
       enough for a lawyer to assess, and even more difficult to convey by way of
       explanation to a criminal defendant untutored in the niceties of legal ethics. Nor
       is it amiss to observe that the willingness of an attorney to obtain such waivers
       from his clients may bear an inverse relation to the care with which he conveys
       all the necessary information to them.”

  Id. (quoting Wheat, 486 U.S. at 162-63).

       The Swafford court also wisely observed the need for the Court’s discretion in light of

  the “whipsaw” nature of a criminal client’s waiver of the right to conflict-free representation:

       Such discretion is warranted, moreover, because of the “whipsaw” nature of
       waiver of conflict-free representation: “If a trial court disqualifies counsel,
       defendant will argue . . . a violation of his Sixth Amendment right to counsel of
       his choice. If a trial court refuses to disqualify an attorney, a defendant may later
       attempt to raise an ineffective assistance of counsel claim based on conflict of
       interest, asserting that his waiver was not knowingly and voluntarily made.”

  Id. (quoting Serra v. Michigan Dep’t of Corrections, 4 F.3d 1348, 1353-54 (6th Cir. 1993)).

       “[B]alanc[ing] the defendant’s right to counsel of choice with the court’s independent

  obligation to serve justice,” id. at 840, this Court concludes that the potential conflicts of

  interest arising from Attorney Hall’s prior representation of Mr. Shumake and Mr. Hall’s

  financial interest in the Gateway Project are the type that can be waived. First, as to Mr.

  Hall’s prior representation of Mr. Shumake, this Court finds that Shumake’s unambiguous

  waiver of the attorney/client privilege as well as the fact that Mr. Hall’s representation was
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  short in duration and limited in nature, greatly diminish the risk that Mr. Hall’s cross-

  examination will be compromised. See United States v. Lussier, 71 F.3d 456, 462 (2d Cir.

  1995) (observing that a witness’s waiver of the attorney/client privilege “significantly

  diminished” defense counsel’s “potential inability to cross-examine” that witness at trial).

  Second, as to Mr. Hall’s minimal (9%) financial interest in the Gateway Project, this Court

  finds that, because the allegations in this criminal matter do not relate to the Gateway

  Project and because Defendant Stewart unequivocally expressed his desire for Mr. Hall’s

  continued representation at trial despite being fully advised that government witnesses will

  nonetheless include persons that have been involved in the Gateway Project, any risk to

  the integrity of the judicial system is diminished. Moreover, the potential conflicts at issue

  here do not arise out of circumstances that warrant disqualification of a defendant’s counsel

  of choice, e.g., joint or multiple representation or invocation of an advice-of-counsel

  defense. Rather, the conflicts presented here are potential and are not so severe that they

  cannot be waived. Thus, on balance, this Court will give preference to Defendant Stewart’s

  right to counsel of his choice.

  III.   Conclusion

         For the above-stated reasons, this Court concludes that Mr. Hall may proceed as

  Defendant Stewart’s counsel in this criminal matter.


                  s/Nancy G. Edmunds
                  Nancy G. Edmunds
                  United States District Judge

 Dated: September 30, 2014

 I hereby certify that a copy of the foregoing document was served upon counsel of record
 on September 30, 2014, by electronic and/or ordinary mail.
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               s/Carol J. Bethel
               Case Manager
